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American Medical Response, Inc. v. City of Stockton
United States District Court- Eastern District No. 2:05-CV-01316-DFL-PAN

RODRIGUEZ DEPO
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IN THE UNITED STATES DISTRICT COURT

IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

AMERICAN MEDICAL RESPONSE, INC.,
a Delaware Corporation,

Plaintiff,

vs.

Municipality, -

Defendants.

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CITY OF STOCKTON, a California ). ame Summ
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)
)
AND RELATED CROSS ACTIONS }
)

DEPOSITION OF EDMOND RODRIGUEZ

DATE: Thursday, August 11, 2005, at 9:00 a.m.

DEPOSITION OFFICER: BOBBIE JO HARR
CSR No. 6090, RMR

TAKEN AT:

GAROUTTE'S

120 North Hunter Street, Suite 104
Stockton, California 95202

GAROUTTE'S |.
Certified Shorthand Reporters
120 North Hunter Street, Suite 104
Stockton, California 95202
(209) 942-2100 or Nationwide (800) 942-2103
FAX (209) 942-2150 1:

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EDMOND RODRIGUEZ,
the deponent herein, having been first duly and regularly
sworn by the Certified Shorthand Reporter, deposed and

testified as follows:

** EXAMINATION BY MR. SIMON **

MR. SIMON: Q. Good morning, Captain Rodriguez.
My name is David Simon, and I'm one of the lawyers for AMR
in its dispute with the City. I'm going to be asking you
some questions this morning.

Can you tell me to start what your current
position with the Stockton Fire Department is?

A. Battalion Chief.

So it is not Captain anymore, it is Chief?

Correct.

I apologize.

Q

A

Q

A. That's okay.
Q How long have you been in that position?
A

Since December.

10

What are your current areas of responsibility?
A. I work in Battalion 1, which is in charge of the
entire south side of the City, approximately one half of

the community.

Q. And you are overall in charge of that battalion,

is that your role?

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A. Yes.
Q. Okay. What was your position before your current
position?

A. I was the on-duty EMS Captain for the City.
Q. What were your responsibilities in that position?
A. I was in charge of the entire ambulance program

for my shift.

Q. How long were you in that position?
A. A little over one year.
Q. So that would take us to December -- you were

Captain in charge of the EMS Division between
December '04 to December ‘05, roughly?

A. December '03.

Q. Okay.

A. To December '04.

Q. Right. December '03 to December "04, you were
EMS Captain?

A. Correct.

Q. Okay. What did you do before that?

A. I was an Engine Company Captain.

Q. Any involvement in the EMS aspect of the Fire
Department's operation when you were an Engine Company
Captain?

A. Yes.

Q. How long were you in that position?

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A. For approximately four-and-a-half years.

Q. How Long have you been with the Department?

A. Going on 17 years.

Q. I want to first ask you some questions about the

decision in 2002, roughly, of the Department to enter the
EMS emergency services business.

Did you play a role in the process of
evaluating whether or not the Department should enter
into EMS service provision?

A. Yes.

Q. Describe for me, if you could, what your role was
in that process.

A. I was the executive secretary of our legal unicn,
Stockton Professional Fire Fighters, and I was asked by
the Chief to assist in forming a joint labor management
committee to look into providing transportation services
for our community.

Q. Did you put that committee together?

A. I was a member of that committee.

Q. What did the committee do?

A. The committee was vested with looking at the
current ambulance transportation system and coming up with
options to provide transportation in the event that one or
more providers left the community.

MR. STUMP: May the record reflect that we've

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been joined in the deposition by a gentleman I haven't met
yet?
MR. RISHWAIN: Michael Rishwain.
Yes, you have.
MR. STUMP: Oh, I'm sorry, Michael. My
apologies. My glasses are just not good this morning.
Okay.
MR. SIMON: Q. Did the committee have meetings?
Did you formally meet to look at this option of entering
the ambulance business?
A. Yes.
Q. Over what period of time did the committee meet?
A. From approximately August of 2001 until
September, October of 2002.
Q. Who else was on the committee besides yourself?
A. At the time was Captain Dave Hafey, myself,
Captain Ron Hittle. Engineer Lilienthal. Our Fire Chief.
Q. Ts that Chief Gillis?
A. Correct.
Q. Is that everybody?
A. To the best of my recollection.
Q. Did the committee meet on a regular basis, or-was
it sporadic, in terms of getting together?
A. I would say the community as a whole, as far as

time lines were to be met was probably frequent.

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hearings started.

Q. Other than the County reports and the annual
report to the City Manager, are you aware of any other
reports that the Department had to file that related to
the emergency ambulance service?

A. No.

Q. I want to talk a little bit about the County
decision to create an exclusive -- a county-wide Exclusive
Operating Area.

You're familiar with that issue, generally?

A. Yes.

Q. When did you first hear that the County was
contemplating creating a county-wide Exclusive Operating
Area?

A. In August of 2002.

Q. What did you hear in August of 2002?

A. We applied and were granted our permits to
operate from the San Joaquin County EMS Agency in July of
2002. As part of the ambulance ordinance, another
provider declined, protested our permits, and they were
granted a public hearing before the Board of Supervisors.

At that hearing, your client requested that the
Board of Supervisors look into issuing a transportation
plan to the state for approval, for authority to grant

EOAs for the areas encompassing the greater Stockton

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area.

Q. Was there discussion about AMR's request at that
County meeting?

A. Yes.

Q. What do you recall about the nature of the
discussion, other than AMR requested it?

A. AMR hired a local attorney by the name of Michael
Hakeem, and Mr. Hakeem spoke before the board basically
stating that he was not challenging the City's permits,
but that this was his only mechanism to go before the
Board and request that they look into granting the EMS
Agency the ability to draft a report to the state to grant

them the authority to go through the EOA process.

Q. Was this hearing before the Board of Supervisors?
A. Yes.
Q. Did any of the supervisors engage in discussion

with Mr. Hakeem about the concept of an EOA?

A. Yes.

Q. What do you recall about those discussions?

A. The basic order of the day was that the Board of
Supervisors through resolution, gave permission to the EMS
Agency to start the process towards a EOA.

Q. It happened at that first meeting?

A. Yes.

Q. Did the EMS Agency weigh in on the issue at that
: 29

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Q. Did anything occur at the County Supervisor
meetings you attended that led you to believe that the
County wanted cooperation among ambulance providers in
responding to its EOA RFP?

A. Yes.

Q. Tell me what you heard that led you to reach that
conclusion.

A. Several of the Board members under their public

comments stated that the City of Stockton and American

Medical Response were two 800-pound gorillas that needed

to work together to provide the best level of services to
our communities.

Q. Do you remember the names of the supervisors that
made those comments?

A. One would be Dario Marenco. Another would be
Jack Sieglock.

Q. Were you involved in the Department's process of

determining how to respond to the anticipated County RFP?

A. Yes.
Q. Would you describe for me if you could in broad
terms what the Department -- what process the Department

followed in determining how it would respond to the County
RFP?
MR. STUMP: Objection, vague as to time,

overbroad. Calis for a narrative. Can you be a little
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partners to get a sense of their level of long-term
commitment and on the -- trying to look for people who
were less likely to close down units?

A. Yes.

Q. What were the other issues that you were
concerned about?

A. That we felt that the Fire Chief, who has the
highest level of public safety within the community should
have the ability to dictate where ambulance stations go,
based on call volume, geography, access routes.

Q. Any other issues that were of concern?

A. We felt that the Fire Chief should have the

ability to dictate a minimum number of available emergency

ambulances.
Q. Other issues?

A. Those are the main ones.
oR. SIMON: We've been going an hour. Do you
want to take a five-minute break, and maybe we can stop
the stampede.

(Recess.)

MR. SIMON: Q. Did the Department determine,
based on its interviews of private ambulance companies,
that AMR would be the most suitable partner for responding
to the County EOA RFP?

A. Yes.
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Q. Why did the Department make that determination?

A. That was the determination made by the Fire Chief
and the City Manager.

Q. Did you agree?

A. I gave them my input.

Q. What was your input?

A. My input was that we had interviewed all the
prospective private ambulance providers, and that to do a
public-private partnership, we felt in essence of that
that Rural Metro, who has had much success with other fire
departments, would probably be the best option for the
City.

Q. Did anyone other than you express the view that
Rural Metro would be a better option?

A. Yes.

Q. Who else?

A. At the time Division Chief Dave Hafey.

Q. Was there a meeting between you and Hafey and
Gillis and Lewis where the issue of which -- which private
provider we should pick was discussed?

A. Yes.

Q. Was anybody else in attendance at that meeting?

A. Not to the best of my recollection. |

Q: Did Chief Gillis express a different view at that

meeting?
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A. Yes.
Q. What was his view?
A. He felt that his long-term relationship with Lou

Meyer of AMR and our legal experience was the best course

of action for the City to partner with.
Q. Did Lewis express a view?
A. Yes.
Q. What was his view?

A. He agreed with the Chief.

Q. And so was the decision to select AMR made at
that meeting?

A. Yes.

Q. How did A-1 fit into the picture?

A. A-1 was a one-ambulance small operation, run by a
lady by the name of Donna McCann, who we affectionately
called the grandmother of local EMS. She had been in the
business for many, many years, and we wanted to give her
an opportunity to stay in the business. And we brought
her into a three-fold Joint Venture Agreement, along with
AMR and the City to provide emergency ambulance services
in our respective areas.

Q. Did you have concerns about the City -- the
Department's decision, I guess the Department and the City
decision to select AMR rather than Rural Metro as the

partner?

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A. Can you be more specific?

Q. I guess what I'm trying to get at is you -- you
thought Rural Metro would have been a better choice.

A. For a public-private partnership, yes.

Q. And I guess that what I'm getting at is whether
you thought that the two were both acceptable but Rural
Metro was better, or whether you had concerns about
whether AMR was an acceptable partner for the City?

A. My decision wasn't based on a level of

acceptability from one provider to the other. But I felt

that Rural Metro had more experience in a public-private
partnership with a Fire Department than AMR did.
Q. After the decision was made to select AMR, were

you comfortable that the City would be able to work with

AMR to provide ambulance service in the -- in the County —
EOA?

A. Yes.

Q. During these interviews you had with different

providers, did the Department explain what assets it would

bring to public-private partnership?

A. Not at that time.

Q. You were just getting information from the --
from the provider, the private provider?

A. Yes.

Q. What happened after the decision was made to

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Q. Okay. Tell me what the -- what your next
involvement in the process was.

A. After this had been placed into Resolution and
adopted by the City Council, to the best of my
recollection, I believe in July of 2003, we held a series
of meetings with AMR to come up with a preliminary plan of
how to respond to an RFP for San Joaquin County.

At that time, we were under the impression that
the RFP was to be released some time in October or
November of 2003.

Q. Who participated in those meetings from -- with
AMR from the Fire Department?

A. It was myself and Division Chief Dave Hafey.

And who participated from AMR?

Brad White, Barry Elzig, and Donna McCann.

Q
A
Q. McCann representing A-1?
A Yes.
Q How many meetings, roughly, did you have?
A Several.

Q. And what can you recall about what was discussed
at those meetings?

A, One thing I do remember is that after this had
been, again, placed into Resolution at the Council level

and adopted as City policy, we met and walked into the

Charter Way office of the local AMR location here, and
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there was quite a bit of writing on the wall. There's a
huge wall that has dry eraser boards, and there was a
preliminary deployment plan for emergency ambulances in
our area. There was financial documentation on that wall,
and there were also three ways or three abilities that AMR
has as a corporation to make money in emergency ambulance,
and they were up there. :

And as we walked in the door and sat down and
the doors were closed, and Brad White got up and shook
everyone's hands and said, "Now we're partners, we can

share confidential information." And he began to

verbally state what all the items were on the dry eraser

boards.
Q. Is that the first meeting or --
A. That was the first meeting, yes.
Q. You identified I think three types of information

that was up on the board. The first was a preliminary
deployment plan?

A. Yes.

Q. Can you tell me what that was?

A. A deployment plan is a general section of an RFP
that you would write about, and it basically states where
the number, how many ambulances you would put into service
at different times of the day or over a 24-hour period.

Q. Bnd AMR had done some work in terms of assessing

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actually came out with a work flow list of who would do
what and time lines. We synchronized our calendars to
come up with a significant amount of meeting dates in the
future to continually meet, bring this information
forward, see where we were, analyze the data, see what
else we needed.

Q. What kind of information did you identify as
information you needed to gather?

A. Broke it into many broad areas. Financial
information, three years of audited financials, a copy of
the City's budget. The different forms of cash on hand.
The City's ability to change assets into liquid or into
cash. Different questions that are typically asked in

most RPSs.

There was biographies. There was curriculum
vitaes on certain key personnel in both organizations.
Our management structure. Our rules and regulations,
our policies and procedures, our training manuals, our
training programs, very extensive information. Our
quality improvement programs.

Q. And just so I understand, this was -- this was
information that AMR anticipated would be asked for in the
RFP based on its prior experience responding to RFPs?

A. Yes.

Q. And nobody knew specifically what San Joaquin
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County RFP was going to ask for at that point?

A. There are basic pieces of information that are
always required. As far as how they would dictate the
level of service needed, that was an unknown.

Q. Okay. Did the City Fire Department go about
gathering the categories of information that AMR said
would likely be called for by the RFP?

A. Yes.

Q. Did you provide that information to AMR?

A. Yes.

Q. Did they provide similar information to the Fire
Department?

A. some.

Q. What kinds of information did they not provide to
the Fire Department?

A. They were not as readily forthcoming on financial
information or budget as the time constraints dictated.

Q. When you say "they were not as readily
forthcoming with financial information," did you mean that
there's financial information that you believed you should
have received that they didn't provide you?

A. Yes.

Q. What sort of financial information did you
believe they should have provided that they didn't?

A. Their audited financials, their last year's
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1 A We never actually got to that conclusion.

2 Q as that AMR's position in the negotiation?
3 A. AMR had multiple positions on that.

4 Q What was their last position on it?

5 A. The last position was that we were going to

6 jointly bill, but we would go through a third party.

7 Q. Not AIS?

8 A. We would put out RFPs for AIS to compete. AMR

9 could compete. Just several billing companies out there.
10 | Q. But no final agreement had ever been reached on

11 that issue?

12 A. No.

13 Q. Other than the billing information from AIS, are
14 you aware of other financial information, other than

15 budget stuff that we talked about, that the City supplied
16 to AMR?

17 A. We provided a forecast of budget projections and

18 revenue projections that were highly confidential as part

19 of the information that we exchanged, or -- let me correct

20 that. Not exchanged, that we gave them.

21 Q. Budget projections and revenue projections?
22 A. Yes.
23 Q. What were the nature of the budget projections

24 that you provided?

25 A. When you apply or submit for an RFP, they

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generally ask you to submit budgets, full cost budgets for
a certain period of years into the future so that they're
able to ascertain that the provider has a financial means
to carry out the service, stay in service, you know, has

the ability to pay for the service. So we had to come up

with forecasts obviously showing what the Fire

Department's budget would be hyperextended out for several
years.

Q. And the revenue projections you referred to are

part of those budget forecasts?

A. They were a separate document, but that was the
initial projections that we needed.

Q. Any other financial information that you're aware
of that the Department shared with AMR?

A. To the best of my recollection, no.

Q. One of the other categories of information that
you had identified earlier was policies and procedures.

A. Uh-huh.

Q. And we talked about several that you were
responsible relating to procedure manual, training,
communications, rescue capabilities. Were there other
categories of information that would have fallen under
that general classification of policies and procedures
that you're aware of that the Fire Department supplied to

AMR?

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Stockton, American Medical Response, and A-1 Ambulance to
also include the City of Lodi, specifically the Lodi Fire
Department.
Q. Were you involved in any of the discussions that
led up to the creation and execution of Exhibit 3?
A. Yes.
Q. Describe for me what -- what you can recall about
those discussions.
MR. STUMP: That's real general. Objection,
vague and ambiguous.
MR. SIMON: Q. Can you answer the question?
A. Can you be more specific?
Q. Yeah. Why don't we start with the question of
whether you attended meetings at which the Joint Venture

Agreement marked as Exhibit 3 was discussed?

A. Yes.

Q. One meeting or multiple meetings?

A. I would say, for this document there was a
couple.

Q. All right. What do you recall was discussed at
the first meeting relating to the Joint Venture Agreement?
A. There was actually conversations that preceded

any of the meetings.
Q. What was the nature of those conversations?

A. Barry Elzig of AMR approached myself and then
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Division Chief Dave Hafey and requested that we assess AMR
with bringing the City of Lodi, specifically the Lodi Fire
Department into the Joint Venture Agreement between the
three existing parties, as AMR felt that that would
increase their chances because they were going to be the
loan bidder. And at that time, Zone 4, which is now
called Zone A, which is the greater Lodi area, they.needed
assistance from our Department to help them establish,
based on the same parameters and have the City of Lodi
partner on with our Joint Venture Agreement.

Q. And did you make contact with the Fire Department
of the City of Lodi? :

AB. Yes.

Q. Describe the nature of those discussions.

A. Our Fire Chief contacted Chief Michael Pretz of
the City of Lodi Fire Department and expressed our desire
to join with them in our Joint Venture Agreement.

However, he was -- or had been selected by the county to
be on the RFP and system design at that time.

Q. And he felt that might be an obstacle to the Lodi
Fire Department participating in the processes?

A. He was not clear.

Q. Did you have any subsequent discussions with the
Lodi Fire Department about it joining your arrangement

with AMR?
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A. Yes.
Q. Tell me about that discussion.
A. Our Fire Chief made an arrangement to have all

the parties back at City Hall in their office to discuss
the eventuality or possibility of having the City of Lodi
join in our joint venture group. Prior to the meeting
commencing, Lou Meyer from AMR raised an objection that
the City of Lodi Fire Department, specifically Chief
Pretz, had to make a decision he was either going to be
part of the RFP selection committee or he was going to
partner up, and that no confidential information or no
aspects of this Agreement would be shared with him until

he made that fundamental decision.

Q. Did the Fire Department agree with Mr. Meyer's
position?

A. Yes.

Q. Did Chief Pretz make a decision to join in the
venture?

A. Chief Pretz excused himself from the room,

contacted at that time the EMS Agency director, voiced his

concern, and excused himself from the RFP system design
committee.

Q. Were there any other conversations between the
Fire Department of Stockton and the Lodi Fire Department

prior to the initial meetings about creating the Joint

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venture Agreement?

A. Only what I collectively said earlier, that we
advised him that we had a desire to bring him into our
Agreement and that he needed to make a decision on which
course he was going to go.

Q. The first meeting then that was related to the
Joint Venture Agreement, by that point, had Chief Pretz
made a decision to join the group?

A. During that first meeting, he made a decision,
after that phone call that I just described.

Q. What else do you remember about the discussions
at that first meeting?

A. Once Chief Pretz committed to and spoke with the
City Attorney and the City Manager of Lodi and was given
permission to entertain the negotiations with the existing
parties, we placed this document in a PowerPoint format
and projected it on the wall and went through each item by
item and made changes and additions as were needed.

Q. Was your starting point document the text of
Exhibit 1, the Memorandum Agreement?

A. To the best of my recollection, yes.

Q. Other than adding Lodi as another participant,
what do you recall was discussed with respect to changes
to the Agreement?

A. Other than adding the different areas that
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STATE OF CALIFORNIA )
COUNTY OF SAN JOAQUIN ) ss.

I, BOBBIE JO HARR, Certified Shorthand Reporter herein,
do hereby certify:

That on August 11, 2005, at 9:00 a.m., the witness
herein, EDMOND RODRIGUEZ, was duly sworn:

That said witness' testimony and the proceedings had at
the time of such testimony were taken down in shorthand
notes by me; I thereafter caused said shorthand notes to be.
transcribed into longhand typewriting, the following being a
full, true, and correct transcription therein;

That I am a disinterested person, and am not in any way
interested in the outcome of said action; nor connected with
nor related to any of the parties in said action, nor to
their respective counsel;

---o000---
On August 12, 2005, all counsel were given notice of

“the preparation of the deposition, and the original

deposition was available for reading, correcting, approval,
or signing in our offices until August 16, 2005.
---000---

The witness signed the deposition and made no
corrections.

The witness and parties waived examination and reading
of the deposition at the time of the taking of the
deposition.

_ The witness corrected, approved, or refused to approve
the deposition by letter to me attached thereto, and copies
of the letter were sent to all counsel.

The witness failed to appear at my office.

The witness appeared in my office, made changes to the
deposition, and counsel were provided with copies of the
changes.

The witness refused to approve or sign the deposition
for the following reasons:

Other:

IN WITNESS WHEREOF, I have hereunto subscribed my hand.
DATE: Ai
Dolbbu Vs YO
BOBBIE JO (HARR, CSR NO. 6090, RMR
COUNSEL: YOU WILL BE NOTIFIED OF ANY CHANGES OR CORRECTIONS
TO THE DEPOSITION. CONTACT OUR OFFICE IF YOU HAVE ANY
QUESTIONS.

